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     'loAO 245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 1                                                                                                         FEB 22 2012
                                                                                                                               CLERK us DISTRICT COURT
                                               UNITED STATES DISTRICT COURT ~RN
                                                                              •
                                                                                DISTRICT OF CALIFORNIA
                                                                                               DEPUTY
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                         v.                                        (For Offenses Committed On or After November I, 1987)

                               lLIANA DIAZ [1]                                     Case Number: lICR3293-BTM
                                                                                    KAREN LEHMANN, FEDERAL DEFENDERS, INC.
                                                                                   Defendant's Attorney
     REGISTRATION NO. 26974298
     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMATION
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature ofOfTense                                                                             Number(s)
 31 :5332(a);31 :5317(c)( 1)           BULK CASH SMUGGLING AND CRIMINAL FORFEITURE
 and 5332(a)(I)and(b)(2)




             The defendant is sentenced as provided in pages 2 through _ _-..;:;,3___ of this judgment. The sentence is imposed pursuant
     to the Sentencing Reform Act of 1984.
     o     The defendant has been found not guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     181 Count(s) Underlying Information                                      is 0 areDdismissed on the motion of the United States.
     181 Assessment: $100.00 to be paid within 6 months.

           Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is waived and remitted
     181 Nofme                                 181 Forfeiture pursuant to order filed _ _N_o_ve_m_be_r_I_8_,2_0_1_1__ , incorporated herein.
               IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendanfs economic circumstances.


                                                                                    FEBRUARY 3, 2012
                                                                                   Date of Imposition of Sentence




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AO 245B (CASD) (Rev. 8/11)
           Sheet 2 •• Probation
                                                                                                        Judgment Page        2    of   _--"3'--__
DEFENDANT: ILIANA DIAZ [1]                                                                        a
CASE NUMBER: llCR3293-BTM
                                                                PROBATION
The defendant is hereby sentenced to probation for a term of:




                                                                                                ~4~
 TIIREE (3) YEARS.

The defendant shall not commit another federal, state, or local crime.
                                                                                                      BARRY TE MOSKOWITZ
For offenses committed on or after September 13, 1994:                                                UNITED STATES DISTRICT JUDGE
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
SUbstance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).




o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                     STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AO 245B     {Rev. 9/00} Judgment in a Criminal Case
                   Sheet 4 .- Special Conditions
                                                                                                      Judgment-Page ~ of _~3_ _
       DEFENDANT: ILIANADIAZ [1]                                                                 D
       CASE NUMBER: lICR3293-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to t


o
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented alien smugglers.
o   Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Remain in your place of residence for a period of212 days (240 days minus 28 days custody credit), except while working at verifiable
    employment, attending religious services, or undergoing medical treatment or any such other reasons approved by the probation officer. The
    defendant shall be subject to electronic monitoring, not at her expense.


o   Pay a fine in the amount of $500.00, to be paid within 30 days.

o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o Officer.
  Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 120 days at the direction of the Probation


181 Seek and maintain full time employment and/or schooling or a combination of both.
o Obtain GED or a High school degree within 12 months.
o Complete 200 hours of community service in a program approved by the probation officer within 18 Months.
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o application
  If the defendant has complied with all conditions of Supervised Probation for 2 Years, Supervised Probation may be terminated on
              to the Court and good cause shown.

o   Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly by
    him, including any interest held or owned under any other name or entity, including trusts, partnerships or corporations, until fine or
    restitution is paid in full.




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